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  15                                  UNITED STATES DISTRICT COURT
  16                                 CENTRAL DISTRICT OF CALIFORNIA
  17                                       WESTERN DIVISION
  18    THIMES SOLUTIONS INC.,                       Case No: 2:19-cv-10374-SB (Ex)
  19                    Plaintiff,                   Hon. Stanley Blumenfeld, Jr.
  20               v.                                DEFENDANTS’ REQUEST FOR
                                                     JUDICIAL NOTICE IN SUPPORT OF
  21    TP LINK USA CORPORATION, et al.              MOTION TO DISMISS FOURTH
                                                     AMENDED COMPLAINT
  22                    Defendants.
                                                     [Filed concurrently with Notice of Motion
  23                                                 and Motion to Dismiss; Memorandum of
                                                     Point and Authorities in Support of; and
  24                                                 Proposed Order re Motion]
  25
                                                     Hearing Date:     November 9, 2020
  26                                                 Hearing Time:     1:30 p.m.
                                                     Courtroom:        Courtroom 6C
  27
                                                     FAC Filed:        September 7, 2020
  28



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   1               TO THE COURT, ALL PARTIES AND THEIR COUNSEL HEREIN:
   2               PLEASE TAKE NOTICE that Defendants TP Link USA Corporation (“TP-Link”)
   3    and Auction Brothers, Inc. d/b/a Amazzia (“Amazzia”) (collectively, “Defendants”),
   4    hereby respectfully request that the Court take judicial notice of the following facts and
   5    webpages in support of Defendants’ Motion to Dismiss the Fourth Amended Complaint:
   6                 1. The Amazon website identified by Plaintiff in the Fourth Amended
   7                    Complaint as one method of distribution, and in fact, the platform Plaintiff
   8                    has been barred from, is a platform where consumers can purchase wireless
   9                    routers and other wireless local area network or WLAN products, as alleged
  10                    in the Fourth Amended Complaint. See Dkt. 126 (“FAC”) at ¶¶ 3, 6, 21-22,
  11                    48-49.
  12                 2. A search for “wireless local area network products” on Amazon results in
  13                    hundreds of products from a myriad of companies, including wireless
  14                    adapters, security cameras, WiFi extenders, smart plugs, smart lightbulbs,
  15                    wireless ear buds, tablets, and routers, ranging from less than fifty dollars to
  16                    thousands of dollars. An exemplar of the search results depicting the first
  17                    few      hundred   listings     is   attached   as    Exhibit    A.        (See
  18                    https://www.amazon.com/s?k=wireless+local+area+network+products&ref=
  19                    nb_sb_noss (last accessed on September 28, 2020).)
  20                 3. A search for “WLAN products” on Amazon results in hundreds of products,
  21                    including wireless adapters, laptops, mobile hotspots, cellular phones,
  22                    security cameras, and routers, ranging from less than fifty dollars to
  23                    thousands of dollars. An exemplar of the search results depicting the first
  24                    few      hundred   listings     is   attached   as    Exhibit    B.        (See
  25                    https://www.amazon.com/s?k=WLAN+product&ref=nb_sb_noss                     (last
  26                    accessed on September 28, 2020).)
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                                                                  REQUEST FOR JUDICIAL NOTICE ISO MTD
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   1                  4. A search for “wireless router” on Amazon results in hundreds of products,
   2                     ranging from less than fifty dollars to several hundreds of dollars, and sold
   3                     by numerous manufacturers such as NETGEAR, Linksys, Amazon, ASUS,
   4                     D-Link, and Cisco. An exemplar of the search results depicting the first few
   5                     hundred      listings    is         attached     as     Exhibit     C.          (See
   6                     https://www.amazon.com/s?k=wireless+router&ref=nb_sb_noss                       (last
   7                     accessed on September 28, 2020).)
   8               “A court must take judicial notice if a party requests it and supplies the court with
   9    the requisite information.” Wible v. Aetna Life Ins. Co., 375 F. Supp. 2d 956, 965 (C.D.
  10    Cal. 2005); Fed. R. Evid. 201(d). The grounds upon which the Court may take judicial
  11    notice are stated in Federal Rules of Evidence, Rule 201(b), which provides that “the
  12    court may judicially notice a fact that is not subject to reasonable dispute because it: (1) is
  13    generally known within the trial court’s territorial jurisdiction; or (2) can be accurately
  14    and readily determined from sources whose accuracy cannot reasonably be questioned.”
  15    Thus, “this Court may take judicial notice of its own records, and documents that are
  16    public records and capable of accurate and ready confirmation by sources that cannot
  17    reasonably be questioned.” Wible, 375 F. Supp. 2d at 965 (citing MGIC Indem. Corp. v.
  18    Weisman, 803 F.2d 500, 504 (9th Cir. 1986)). Courts have found judicial notice proper
  19    over publicly available websites. See Loomis v. Slendertone Distribution, Inc., 420 F.
  20    Supp. 3d 1046, 1063 (S.D. Cal. 2019) (collecting cases). Webpages from Amazon.com
  21    are therefore proper subjects for judicial notice. See id. at 1062-63 (taking judicial notice
  22    of Amazon.com listing); Wible, 375 F. Supp. 2d at 965-66 (taking judicial notice of
  23    Amazon webpages).
  24               Defendants therefore respectfully request that the court take judicial notice of the
  25    facts listed above.
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   1               DATED: September 29, 2020   FOLEY & LARDNER LLP
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                                               Auction Brothers, Inc.
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                                                          REQUEST FOR JUDICIAL NOTICE ISO MTD
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   1                                      ATTESTATION CLAUSE
   2
                   Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer of this document attests that all
   3
        of the signatories listed, and on whose behalf the filing is submitted, concur in the
   4
        filing’s content and have authorized the filing.
   5

   6
                   DATED: September 29, 2020          FOLEY & LARDNER LLP
   7                                                  STEPHEN R. SMEREK
                                                      TIFFANY KIM SUNG
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   9

  10
                                                      /s/ Stephen R. Smerek
  11                                                  Stephen R. Smerek
                                                      ATTORNEYS FOR DEFENDANT TP LINK USA
                                                      CORPORATION
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                                                                  REQUEST FOR JUDICIAL NOTICE ISO MTD
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